                       Case 1:25-cr-10057-RGS
2-6   5HYLVHG86'&0$        Document 1-1              Filed 02/12/25            Page 1 of 6
Criminal Case Cover Sheet                                                            U.S. District Court - District of Massachusetts

Place of Offense: Boston                  Category No.      II                    Investigating Agency                FBI

City    Concord                                5HODWHG&DVH,QIRUPDWLRQ
                                                6XSHUVHGLQJ,QG,QI                               &DVH1R
County       Middlesex
                                                6DPH'HIHQGDQW                                 1HZ'HIHQGDQW x
                                                0DJLVWUDWH-XGJH&DVH1XPEHU
                                                6HDUFK:DUUDQW&DVH1XPEHU
                                                55IURP'LVWULFWRI
Defendant Information:
                                                ,VWKLVFDVHUHODWHGWRDQH[LVWLQJFULPLQDODFWLRQSXUVXDQWWR5XOH
                                                 K ",I\HVFDVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                 <HV       ✔ 1R
'HIHQGDQW1DPH       Damien Willette                                                                       -XYHQLOH          G <HV        ✔ 1R
                                     ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU                   G <HV        ✔ 1R
$OLDV1DPH
$GGUHVV

                      1995
%LUWKGDWH <URQO\ BBBBBB                7255
                               661 ODVW BBBBB         M
                                                       6H[BBBBBB               White
                                                                           5DFHBBBBBBBBBBBBBBB                        USA
                                                                                                           1DWLRQDOLW\BBBBBBBBBBBBBBBBBB

Defense Counsel if Nnown:                                                        $GGUHVV

%DU1XPEHU

U.S. Attorney Information

$86$       Philip C. Cheng                                           %DU1XPEHULIDSSOLFDEOH

Interpreter:              <HV     ✔ 1R                             /LVWODQJXDJHDQGRUGLDOHFW

Victims:       ✔ <HV           1R       ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                 G <HV        ✔
                                                                                                                                            1R

Matter to be SEALED:               ✔ <HV              1R

✔ :DUUDQW5HTXHVWHG                 5HJXODU3URFHVV                  ,Q&XVWRG\

/Rcation Status:

$rrest Date

    $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                    LQ                                            
    $OUHDG\LQ6WDWH&XVWRG\DW                                                    6HUYLQJ6HQWHQFH                      $ZDLWLQJ7ULDO
    2Q3UHWULDO5HOHDVH    2UGHUHGE\                                                RQ

Charging Document:                    &RPSODLQW                G ,QIRUPDWLRQ                           ✔,QGLFWPHQW

Total # of Counts:                 G 3HWW\                     G 0LVGHPHDQRU                           ✔ )HORQ\ 2

                                        &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔        I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.

'DWH 2/12/2025                            6LJQDWXUHRI$86$ V3KLOLS&&KHQJ
                      Case 1:25-cr-10057-RGS                        Document 1-1            Filed 02/12/25   Page 2 of 6
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant               Damien Willette
                                                                         U.S.C. Citations
                 Index Key/Code                                    Description of Offense Charged                    Count Numbers

6HW     18 USC 371                                   Conspiracy to extort                                      1
6HW
          18 USC 875(b)                                Communication with intent to extort                       2

6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

 $'',7,21$/,1)250$7,21




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
                       Case 1:25-cr-10057-RGS
2-6   5HYLVHG86'&0$        Document 1-1              Filed 02/12/25            Page 3 of 6
Criminal Case Cover Sheet                                                            U.S. District Court - District of Massachusetts

Place of Offense: Boston                  Category No.      II                    Investigating Agency                FBI

City    Concord                                5HODWHG&DVH,QIRUPDWLRQ
                                                6XSHUVHGLQJ,QG,QI                               &DVH1R
County       Middlesex
                                                6DPH'HIHQGDQW                                 1HZ'HIHQGDQW x
                                                0DJLVWUDWH-XGJH&DVH1XPEHU
                                                6HDUFK:DUUDQW&DVH1XPEHU
                                                55IURP'LVWULFWRI
Defendant Information:
                                                ,VWKLVFDVHUHODWHGWRDQH[LVWLQJFULPLQDODFWLRQSXUVXDQWWR5XOH
                                                 K ",I\HVFDVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                 <HV       ✔ 1R
'HIHQGDQW1DPH       William Walley                                                                        -XYHQLOH          G <HV        ✔ 1R
                                     ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU                   G <HV        ✔ 1R
$OLDV1DPH          Dub

$GGUHVV

                      1994
%LUWKGDWH <URQO\ BBBBBB                9542
                               661 ODVW BBBBB         M
                                                       6H[BBBBBB               Black
                                                                           5DFHBBBBBBBBBBBBBBB                        USA
                                                                                                           1DWLRQDOLW\BBBBBBBBBBBBBBBBBB

Defense Counsel if Nnown:                                                        $GGUHVV

%DU1XPEHU

U.S. Attorney Information

$86$       Philip C. Cheng                                           %DU1XPEHULIDSSOLFDEOH

Interpreter:              <HV    ✔ 1R                              /LVWODQJXDJHDQGRUGLDOHFW

Victims:       ✔ <HV           1R       ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                 G <HV        ✔
                                                                                                                                            1R

Matter to be SEALED:              ✔ <HV               1R

✔ :DUUDQW5HTXHVWHG                 5HJXODU3URFHVV                  ,Q&XVWRG\

/Rcation Status:

$rrest Date

  $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                      LQ                                            
✔ $OUHDG\LQ6WDWH&XVWRG\DW MCI-Souza-Baranowski                             ✔ 6HUYLQJ6HQWHQFH                        $ZDLWLQJ7ULDO
    2Q3UHWULDO5HOHDVH    2UGHUHGE\                                                RQ

Charging Document:                    &RPSODLQW                G ,QIRUPDWLRQ                           ✔,QGLFWPHQW

Total # of Counts:                 G 3HWW\                     G 0LVGHPHDQRU                           ✔ )HORQ\ 2

                                        &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔        I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.

'DWH 2/12/2025                            6LJQDWXUHRI$86$ V3KLOLS&&KHQJ
                      Case 1:25-cr-10057-RGS                        Document 1-1            Filed 02/12/25   Page 4 of 6
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant               William Walley
                                                                         U.S.C. Citations
                 Index Key/Code                                    Description of Offense Charged                    Count Numbers

6HW     18 USC 371                                   Conspiracy to extort                                      1
6HW
          18 USC 875(b)                                Communication with intent to extort                       3

6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

 $'',7,21$/,1)250$7,21




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
                       Case 1:25-cr-10057-RGS
2-6   5HYLVHG86'&0$        Document 1-1              Filed 02/12/25            Page 5 of 6
Criminal Case Cover Sheet                                                            U.S. District Court - District of Massachusetts

Place of Offense: Boston                  Category No.      II                    Investigating Agency                FBI

City    Concord                                5HODWHG&DVH,QIRUPDWLRQ
                                                6XSHUVHGLQJ,QG,QI                               &DVH1R
County       Middlesex
                                                6DPH'HIHQGDQW                                 1HZ'HIHQGDQW x
                                                0DJLVWUDWH-XGJH&DVH1XPEHU
                                                6HDUFK:DUUDQW&DVH1XPEHU
                                                55IURP'LVWULFWRI
Defendant Information:
                                                ,VWKLVFDVHUHODWHGWRDQH[LVWLQJFULPLQDODFWLRQSXUVXDQWWR5XOH
                                                 K ",I\HVFDVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                 <HV       ✔ 1R
'HIHQGDQW1DPH       Michael O'Shea                                                                        -XYHQLOH          G <HV        ✔ 1R
                                     ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU                   G <HV        ✔ 1R
$OLDV1DPH          Easy

$GGUHVV

                      1988
%LUWKGDWH <URQO\ BBBBBB                0391
                               661 ODVW BBBBB         M
                                                       6H[BBBBBB               White
                                                                           5DFHBBBBBBBBBBBBBBB                        USA
                                                                                                           1DWLRQDOLW\BBBBBBBBBBBBBBBBBB

Defense Counsel if Nnown:                                                        $GGUHVV

%DU1XPEHU

U.S. Attorney Information

$86$       Philip C. Cheng                                           %DU1XPEHULIDSSOLFDEOH

Interpreter:              <HV    ✔ 1R                              /LVWODQJXDJHDQGRUGLDOHFW

Victims:       ✔ <HV           1R       ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                 G <HV        ✔
                                                                                                                                            1R

Matter to be SEALED:              ✔ <HV               1R

✔ :DUUDQW5HTXHVWHG                 5HJXODU3URFHVV                  ,Q&XVWRG\

/Rcation Status:

$rrest Date

  $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                      LQ                                            
✔ $OUHDG\LQ6WDWH&XVWRG\DW MCI-Souza-Baranowski                             ✔ 6HUYLQJ6HQWHQFH                        $ZDLWLQJ7ULDO
    2Q3UHWULDO5HOHDVH    2UGHUHGE\                                                RQ

Charging Document:                    &RPSODLQW                G ,QIRUPDWLRQ                           ✔,QGLFWPHQW

Total # of Counts:                 G 3HWW\                     G 0LVGHPHDQRU                           ✔ )HORQ\ 1

                                        &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔        I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.

'DWH 2/12/2025                            6LJQDWXUHRI$86$ V3KLOLS&&KHQJ
                      Case 1:25-cr-10057-RGS                        Document 1-1            Filed 02/12/25   Page 6 of 6
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant               Michael O'Shea
                                                                         U.S.C. Citations
                 Index Key/Code                                    Description of Offense Charged                    Count Numbers

6HW     18 USC 371                                   Conspiracy to extort                                      1
6HW


6HW


6HW


6HW


6HW


6HW


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 $'',7,21$/,1)250$7,21




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